    Case 4:19-cr-00309-ALM-KPJ Document 80 Filed 04/14/20 Page 1 of 1 PageID #: 137


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

     UNITED STATES OF AMERICA                      '
                                                   '
     v.                                            '          4:19-CR-309 ALM/KPJ
                                                   '
     ZACHARIAH LOGAN CARL (5)                      '
          Defendant                                '

             ORDER FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

            The Petition for Writ of Habeas Corpus Ad Prosequendum (Dkt. 77) of the United

     States Attorney for the Eastern District of Texas on behalf of the United States of America,

     on this date came on for consideration, and it appearing to the Court that the Petition states

     good and sufficient cause for the issuance of the Writ of Habeas Corpus Ad Prosequendum

     as requested, it is now hereby,

            ORDERED and DIRECTED that the United States Marshal, Eastern District of

     Texas, and the Sheriff (Sheriff) of Dallas County Jail, Lew Sterret Facility, in Dallas,

     Texas, shall produce and have the body of Defendant ZACHARIAH LOGAN CARL,

     booking number# 20015126, who is detained in the custody of the Sheriff, before the

     United States District Court for the Eastern District of Texas, in Sherman, Texas,

     instanter, said Defendant to appear for an Initial Appearance Hearing and for the above-
.    styled cause; and to return ZACHARIAH LOGAN CARL, Defendant herein, to the

     custody of the Sheriff of Dallas County Jail, in Dallas, Texas, under safe and secure

     conduct at the conclusion of all proceedings ordered by this Court, and have you then and

     there this Writ.
              So ORDERED and SIGNED this 14th day of April, 2020.




                                                 ____________________________________
                                                 KIMBERLY C. PRIEST JOHNSON
                                                 UNITED STATES MAGISTRATE JUDGE
